October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES




 ∑∑∑∑∑IN THE UNITED STATES DISTRICT COURT
 ∑∑∑∑FOR THE MIDDLE DISTRICT OF TENNESSEE
 ∑∑∑∑∑∑∑∑∑NASHVILLE DIVISION




 MICHAEL KULAKOWSKI,∑∑∑∑∑∑∑∑)
 ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
 ∑∑∑Plaintiff,∑∑∑∑∑∑∑∑∑∑)
 ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
 vs.∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)CASE NO.
 ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)3:16-CV-02510
 ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
 WESTROCK SERVICES, INC.,∑∑∑∑∑∑)
 ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
 ∑∑∑Defendant.∑∑∑∑∑∑∑∑∑∑)
 _________________________________




 ∑∑∑∑∑∑∑∑∑∑DEPOSITION OF

 ∑∑∑∑∑∑∑∑TERRY ANTHONY STAFFORD

 ∑∑∑∑∑Taken on Behalf of the Plaintiff

 ∑∑∑∑∑∑∑∑∑October 24, 2017

 ∑∑∑∑∑∑∑∑Commencing at 9:36 a.m.




 __________________________________________________



 Reported by:∑Jerri L. Porter, RPR, CRR
 Tennessee LCR No. 335
 Expires:∑6/30/2018



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     Case 3:16-cv-02510 Document         *** (888)
                                 39-8 Filed        991-DEPO
                                             02/26/18  Page 1 of 14 PageID #: 731
October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES
                                                          Page 2                                                             Page 4
∑1∑APPEARANCES:                                                    ∑1∑∑∑∑∑∑∑∑The deposition of TERRY ANTHONY
∑2∑For the Plaintiff:                                              ∑2∑STAFFORD was taken on behalf of the Plaintiff on
∑3∑∑∑∑∑∑HEATHER MOORE COLLINS
                                                                   ∑3∑October 24, 2017, in the offices of Constangy,
∑∑∑∑∑∑∑Collins & Hunter
∑4∑∑∑∑∑∑7000 Executive Center Drive                                ∑4∑Brooks, Smith & Prophete, 1010 SunTrust Plaza,
∑∑∑∑∑∑∑Building 2, Suite 320                                       ∑5∑401 Commerce Street, Nashville, Tennessee, for all
∑5∑∑∑∑∑∑Brentwood, Tennessee∑37027
                                                                   ∑6∑purposes under the Federal Rules of Civil Procedure.
∑∑∑∑∑∑∑(615) 724-1996
∑6∑∑∑∑∑∑heather@collinshunter.com                                  ∑7∑∑∑∑∑∑∑∑The formalities as to notice, caption,
∑7                                                                 ∑8∑certificate, et cetera, are waived.∑All objections,
∑∑For the Defendant:
                                                                   ∑9∑except as to the form of the questions, are reserved
∑8
∑∑∑∑∑∑∑MARY DOHNER SMITH                                           10∑to the hearing.
∑9∑∑∑∑∑∑Constangy, Brooks, Smith & Prophete                        11∑∑∑∑∑∑∑∑It is agreed that Jerri L. Porter,
∑∑∑∑∑∑∑1010 SunTrust Plaza
                                                                   12∑being a Notary Public and Court Reporter for the
10∑∑∑∑∑∑401 Commerce Street
∑∑∑∑∑∑∑Nashville, Tennessee∑37219                                  13∑State of Tennessee, may swear the witness, and that
11∑∑∑∑∑∑(615) 320-5200                                             14∑the reading and signing of the completed deposition
∑∑∑∑∑∑∑mdohner@constangy.com
                                                                   15∑by the witness are reserved.
12
13                                                                 16
14                                                                 17
15
                                                                   18
16
17                                                                 19
18                                                                 20
19                                                                 21∑∑∑∑∑∑∑∑∑∑∑∑∑* * *
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22                                                                 23
23                                                                 24
24
                                                                   25
25

                                                          Page 3                                                             Page 5
∑1∑∑∑∑∑∑∑∑∑∑∑∑I N D E X                                            ∑1∑∑∑∑∑∑∑∑∑TERRY ANTHONY STAFFORD
∑2∑∑∑∑∑∑∑∑∑INDEX OF EXAMINATIONS                                   ∑2∑was called as a witness, and after having been first
∑3∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑Page
                                                                   ∑3∑duly sworn, testified as follows:
∑4∑Examination By Ms. Collins ........................5
                                                                   ∑4∑∑∑∑∑∑∑∑∑E X A M I N A T I O N
∑5∑Examination By Ms. Dohner-Smith ..................42
                                                                   ∑5∑BY MS. COLLINS:
∑6∑Examination By Ms. Collins .......................48
∑7
                                                                   ∑6∑Q∑∑∑∑Would you state your complete name for the
∑8
                                                                   ∑7∑record, please.
∑9∑∑∑∑∑∑∑∑∑∑∑MARKED EXHIBITS                                       ∑8∑A∑∑∑∑Terry Anthony Stafford.
10                                                                 ∑9∑Q∑∑∑∑Mr. Stafford, what is your address?
∑∑Exhibit∑∑∑∑Description∑∑∑∑∑∑∑∑∑∑∑Page                            10∑A∑∑∑∑2150 Puryears Bend Road, Hartsville,
11                                                                 11∑Tennessee.
∑∑No. 1∑∑RockTenn Employee Welcome Book ..........20               12∑Q∑∑∑∑Was that parriers?
12∑∑∑∑∑∑Bates WestRock 000048-0060                                 13∑A∑∑∑∑Yeah, P-u-r-y-e-a-r-s.
13                                                                 14∑Q∑∑∑∑Okay.∑And what is the zip code?
14
                                                                   15∑A∑∑∑∑37074.
15
                                                                   16∑Q∑∑∑∑Okay.∑And what is your phone number?
16
                                                                   17∑A∑∑∑∑You want my work number?
17
                                                                   18∑Q∑∑∑∑Your mobile number.
18
19
                                                                   19∑A∑∑∑∑(615)681-2177.
20                                                                 20∑Q∑∑∑∑Okay.∑Where are you currently employed?
21                                                                 21∑A∑∑∑∑WestRock.
22                                                                 22∑Q∑∑∑∑And how long have you been employed there?
23                                                                 23∑A∑∑∑∑Thirty-one years.
24                                                                 24∑Q∑∑∑∑Do you have any plans to retire in the near
25                                                                 25∑future?


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         Case 3:16-cv-02510 Document         *** (888)
                                     39-8 Filed        991-DEPO
                                                 02/26/18  Page 2 of 14 PageID #: 732                                                 YVer1f
October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES
                                                          Page 6                                                            Page 8
∑1∑A∑∑∑∑No.                                                        ∑1∑A∑∑∑∑Larry Eden.
∑2∑Q∑∑∑∑What is your current job title?                            ∑2∑Q∑∑∑∑Does Larry still work there?
∑3∑A∑∑∑∑Supervisor.                                                ∑3∑A∑∑∑∑Yes.
∑4∑Q∑∑∑∑Of what department?                                        ∑4∑Q∑∑∑∑What's Larry's current job title?
∑5∑A∑∑∑∑The GE machine.                                            ∑5∑A∑∑∑∑Shipping manager.
∑6∑Q∑∑∑∑And which WestRock facility do you work at?                ∑6∑Q∑∑∑∑Was Larry just an interim plant manager or
∑7∑A∑∑∑∑Fulfillment.                                               ∑7∑was he demoted?
∑8∑Q∑∑∑∑Fulfillment?                                               ∑8∑A∑∑∑∑Demoted.
∑9∑A∑∑∑∑Uh-huh.                                                    ∑9∑Q∑∑∑∑Okay.∑Do you know why?
10∑Q∑∑∑∑Do you know that address?                                  10∑A∑∑∑∑No.
11∑A∑∑∑∑Let me see.                                                11∑Q∑∑∑∑Have you heard anything?
12∑Q∑∑∑∑Or just the name of the road?                              12∑A∑∑∑∑No.
13∑A∑∑∑∑Hancock Street.                                            13∑Q∑∑∑∑Okay.∑How long has Keith Hall been the
14∑Q∑∑∑∑Okay.∑How long have you been a supervisor                  14∑plant manager?
15∑of the GE machine?                                              15∑A∑∑∑∑A year.
16∑A∑∑∑∑Six to eight months.                                       16∑Q∑∑∑∑About how many people work out there?
17∑Q∑∑∑∑Okay.∑What were you -- what was your job                   17∑A∑∑∑∑Sixty-five.
18∑before that?                                                    18∑Q∑∑∑∑And can you tell me generally what the
19∑A∑∑∑∑Pretty much just seeing over that the                      19∑fulfillment center where you work at WestRock does?
20∑production of the GE machine was working.                       20∑A∑∑∑∑Well, it makes GE boxes for General
21∑Q∑∑∑∑So before that, you worked on the GE                       21∑Electric, and we do Lochinvar boxes, like the water
22∑machine, you just weren't supervisor?                           22∑heaters, and T-folders for Amazon, Kimberly-Clark.
23∑A∑∑∑∑Right.                                                     23∑Q∑∑∑∑So, basically, y'all make boxes?
24∑Q∑∑∑∑Who preceded you as supervisor?                            24∑A∑∑∑∑Yeah.
25∑A∑∑∑∑Al Hasbrouck.                                              25∑Q∑∑∑∑Is it a 24-hour operation?
                                                          Page 7                                                            Page 9
∑1∑Q∑∑∑∑Okay.∑Is he still with WestRock?                           ∑1∑A∑∑∑∑Yes.
∑2∑A∑∑∑∑Yes, ma'am.                                                ∑2∑Q∑∑∑∑What shift do you work?
∑3∑Q∑∑∑∑What is his job now?                                       ∑3∑A∑∑∑∑First.
∑4∑A∑∑∑∑General manager.                                           ∑4∑Q∑∑∑∑Do they have three shifts?
∑5∑Q∑∑∑∑All right.∑When you were working on the GE                 ∑5∑A∑∑∑∑Yes.
∑6∑machine but not supervisor, who was your supervisor?            ∑6∑Q∑∑∑∑Have you always been on first shift?
∑7∑A∑∑∑∑Michael White.                                             ∑7∑A∑∑∑∑Yes.
∑8∑Q∑∑∑∑Is Michael White still with WestRock?                      ∑8∑Q∑∑∑∑Okay.∑So your current supervisor, is that
∑9∑A∑∑∑∑Yes.                                                       ∑9∑Mr. Hasbrouck?
10∑Q∑∑∑∑What's his current job title?                              10∑A∑∑∑∑Yes.∑It was Michael, and then Michael was
11∑A∑∑∑∑Safety manager, production manager.                        11∑taken over, so...
12∑Q∑∑∑∑Has he been in that role for a while?                      12∑Q∑∑∑∑It was Michael White?
13∑A∑∑∑∑The safety manager just took over just a few               13∑A∑∑∑∑Uh-huh.
14∑weeks.                                                          14∑Q∑∑∑∑And then he moved into that other --
15∑Q∑∑∑∑Okay.∑Before that he had been production                   15∑A∑∑∑∑That other safety -- safety spot, yes.
16∑manager for a while?                                            16∑Q∑∑∑∑Do you supervise anybody?
17∑A∑∑∑∑Yes.                                                       17∑A∑∑∑∑Yes.
18∑Q∑∑∑∑Okay.∑What is the highest position over at                 18∑Q∑∑∑∑And have you just started supervising people
19∑the WestRock plant where you worked?                            19∑since you became a supervisor six to eight months
20∑A∑∑∑∑What's the highest position?                               20∑ago?
21∑Q∑∑∑∑Yes.                                                       21∑A∑∑∑∑Yes.
22∑A∑∑∑∑Plant manager.                                             22∑Q∑∑∑∑About how many people do you supervise?
23∑Q∑∑∑∑Who's the current plant manager?                           23∑A∑∑∑∑On that machine, four.
24∑A∑∑∑∑Keith Hall.                                                24∑Q∑∑∑∑Are you considered management in your
25∑Q∑∑∑∑And who was the plant manager before Keith?                25∑current position?


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       Case 3:16-cv-02510 Document         *** (888)
                                   39-8 Filed        991-DEPO
                                               02/26/18  Page 3 of 14 PageID #: 733                                                  YVer1f
October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES
                                                        Page 10                                                            Page 12
∑1∑A∑∑∑∑No.                                                       ∑1∑paperwork, that sort of thing.
∑2∑Q∑∑∑∑Are you still hourly?                                     ∑2∑A∑∑∑∑Yes.
∑3∑A∑∑∑∑Yes.                                                      ∑3∑Q∑∑∑∑Do y'all have anything like that?
∑4∑Q∑∑∑∑Who is in the office or who is considered                 ∑4∑A∑∑∑∑Yes.
∑5∑management out there?                                          ∑5∑Q∑∑∑∑Okay.∑Tell me about that.∑Who's in the
∑6∑A∑∑∑∑Michael White.                                            ∑6∑office?
∑7∑Q∑∑∑∑And he's the safety manager, production                   ∑7∑A∑∑∑∑Sara Scheffey (phonetic).
∑8∑manager?                                                       ∑8∑Q∑∑∑∑Could you spell that?
∑9∑A∑∑∑∑Yes.                                                      ∑9∑A∑∑∑∑No.
10∑Q∑∑∑∑And he reports to the plant manager?                      10∑Q∑∑∑∑No, you can't?∑Scheffey?
11∑A∑∑∑∑Yes.                                                      11∑A∑∑∑∑Uh-huh.
12∑Q∑∑∑∑Now, you said Larry Eden is now the shipping              12∑Q∑∑∑∑Okay.∑Who else?
13∑manager.∑But he was the plant manager before that?             13∑A∑∑∑∑Scott Cothran (phonetic).
14∑A∑∑∑∑Yes.                                                      14∑Q∑∑∑∑Okay.∑Just those two?
15∑Q∑∑∑∑How long was he plant manager?                            15∑A∑∑∑∑(Witness moves head up and down.)
16∑A∑∑∑∑Ten, fifteen years.                                       16∑Q∑∑∑∑What is Sara's job?
17∑Q∑∑∑∑And the plant manager reports to the general              17∑A∑∑∑∑She like answers the front door when people
18∑manager?                                                       18∑comes in, pages people, and she's also customer
19∑A∑∑∑∑General manager.                                          19∑service.
20∑Q∑∑∑∑Okay.∑And who is the general manager?                     20∑Q∑∑∑∑Okay.∑And what about Scott?
21∑A∑∑∑∑Al Hasbrouck.                                             21∑A∑∑∑∑Customer service.
22∑Q∑∑∑∑Who was the general manager before Al?                    22∑Q∑∑∑∑And how long have they been there in those
23∑A∑∑∑∑Tommy Whited, W-h-i-t-e-d.                                23∑jobs?
24∑Q∑∑∑∑And do you recall when Tommy Whited left?                 24∑A∑∑∑∑Sara, probably five; Scott, one year.
25∑A∑∑∑∑A year ago.                                               25∑Q∑∑∑∑Who did Scott replace?
                                                        Page 11                                                            Page 13
∑1∑Q∑∑∑∑And is Al still there?                                    ∑1∑A∑∑∑∑Cindy Cardenas.
∑2∑A∑∑∑∑Yes.                                                      ∑2∑Q∑∑∑∑Now, is the fulfillment center part of
∑3∑Q∑∑∑∑Sometimes I get all of these different names              ∑3∑another larger facility, or is it its own separate
∑4∑confused.∑What is -- and he's there as the general             ∑4∑functioning facility?
∑5∑manager still?                                                 ∑5∑A∑∑∑∑That one and the sheet plant is one plant.
∑6∑A∑∑∑∑Yes.                                                      ∑6∑Q∑∑∑∑Okay.∑Is the sheet plant within close
∑7∑Q∑∑∑∑All right.∑I'm going to go over this to                   ∑7∑proximity to the --
∑8∑make sure I've got it right to refer back to these             ∑8∑A∑∑∑∑Six miles.
∑9∑different people.                                              ∑9∑Q∑∑∑∑Okay.∑Do the people at fulfillment where
10∑∑∑∑∑Al is a general manager, Keith is the plant                10∑you work report to anybody at the sheet plant?
11∑manager.                                                       11∑A∑∑∑∑Yes.
12∑A∑∑∑∑Yes.                                                      12∑Q∑∑∑∑Okay.∑Who do y'all report to out there?
13∑Q∑∑∑∑And Mike White is the safety/production                   13∑A∑∑∑∑The shipping department reports to Larry.
14∑manager.                                                       14∑Q∑∑∑∑And what's Larry's last name?
15∑A∑∑∑∑Yes.                                                      15∑A∑∑∑∑Eden.
16∑Q∑∑∑∑And is that the -- sort of the hierarchy,                 16∑Q∑∑∑∑All right.∑And that was the Larry Eden that
17∑the general manager, then the plant manager, and               17∑used to be --
18∑then the safety production manager?                            18∑A∑∑∑∑Yes.
19∑A∑∑∑∑Yes.                                                      19∑Q∑∑∑∑-- at the fulfillment center?
20∑Q∑∑∑∑All right.∑Are there office or                            20∑A∑∑∑∑He never was at the fulfillment, but, I
21∑administrative people out there?                               21∑mean, he was at both plants doing the plant manager
22∑A∑∑∑∑As far as?                                                22∑of both plants.
23∑Q∑∑∑∑Well, a lot of times out at plants, there                 23∑Q∑∑∑∑Okay.∑And do they have an office staff at
24∑are separate people in offices that do more                    24∑the sheet plant?
25∑administrative functions, answer the phones,                   25∑A∑∑∑∑Yes.


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        Case 3:16-cv-02510 Document         *** (888)
                                    39-8 Filed        991-DEPO
                                                02/26/18  Page 4 of 14 PageID #: 734                                                 YVer1f
October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES
                                                          Page 14                                                             Page 16
∑1∑Q∑∑∑∑Okay.∑About how many people are in the                      ∑1∑Q∑∑∑∑We're not trying to be rude.∑I forget we
∑2∑office staff there?                                              ∑2∑tend to do that a lot.
∑3∑A∑∑∑∑Ten to twelve.                                              ∑3∑A∑∑∑∑Yeah, I do.
∑4∑Q∑∑∑∑Okay.∑Do they come to the fulfillment                       ∑4∑Q∑∑∑∑So you just had a --
∑5∑center to do certain functions?                                  ∑5∑A∑∑∑∑(Indicating.)
∑6∑A∑∑∑∑Ithink maybe Georgie, she'll come over                      ∑6∑Q∑∑∑∑All right.∑So it's a little bar code type,
∑7∑because we keep our files in a box, and they may                 ∑7∑looks like a credit card?
∑8∑have to come back over to the fulfillment where we               ∑8∑A∑∑∑∑Yes.
∑9∑keep them stored and look for like an invoice or                 ∑9∑Q∑∑∑∑Okay.∑And y'all have had that for several
10∑something.                                                       10∑years?
11∑Q∑∑∑∑Okay.∑Who handles like payroll and if                       11∑A∑∑∑∑Yes.
12∑somebody is calling in sick and that sort of stuff?              12∑Q∑∑∑∑Are there ever occasions where you come into
13∑A∑∑∑∑You have a number that you have to call now.                13∑work to handle something and you don't swipe in your
14∑Q∑∑∑∑How long has that been in place?                            14∑card?
15∑A∑∑∑∑Let's see.∑Three to four months.                            15∑A∑∑∑∑No.∑You have to clock in.
16∑Q∑∑∑∑What did y'all do before that?                              16∑Q∑∑∑∑Okay.∑Has any supervisor ever told you to
17∑A∑∑∑∑Just called the supervisor.                                 17∑come in and do any work off the clock?
18∑Q∑∑∑∑You'd call the supervisor when you've got --                18∑A∑∑∑∑No.
19∑to report your hours or if you're going to be sick               19∑Q∑∑∑∑Who was the HR person for the fulfillment
20∑or something like that?                                          20∑center, the sheet plant?
21∑A∑∑∑∑If you call out, you just call the                          21∑A∑∑∑∑Lana Potts.
22∑supervisor.                                                      22∑Q∑∑∑∑How long was she the HR person?
23∑Q∑∑∑∑Who handled the payroll?                                    23∑A∑∑∑∑Oh, HR?∑I'm sorry, that was the safety.∑HR
24∑A∑∑∑∑As far as?                                                  24∑was Helen Kendall.
25∑Q∑∑∑∑Well, yeah, that's a good question.∑Let's                   25∑Q∑∑∑∑Kendall, K-e-n-d-a-l-l?
                                                          Page 15                                                             Page 17
∑1∑go back a little bit.                                            ∑1∑A∑∑∑∑Ithink so.
∑2∑∑∑∑∑How is the -- how did you record your work                   ∑2∑Q∑∑∑∑Okay.∑Is she still there?
∑3∑hours?                                                           ∑3∑A∑∑∑∑No.
∑4∑A∑∑∑∑Time clock.                                                 ∑4∑Q∑∑∑∑When did she leave?
∑5∑Q∑∑∑∑Okay.∑Just punch in and punch out?                          ∑5∑A∑∑∑∑She retired a year and a half to two years
∑6∑A∑∑∑∑(Witness moves head up and down.)                           ∑6∑ago.
∑7∑Q∑∑∑∑Is it still that way?                                       ∑7∑Q∑∑∑∑Who replaced her?
∑8∑A∑∑∑∑Yes.                                                        ∑8∑A∑∑∑∑Ihadn't heard.
∑9∑Q∑∑∑∑Did you get like a weekly summary what those                ∑9∑Q∑∑∑∑Where was her office?
10∑punch ins and punch outs were?                                   10∑A∑∑∑∑At the sheet plant.
11∑A∑∑∑∑Like a readout?                                             11∑Q∑∑∑∑Did she come to the fulfillment center on
12∑Q∑∑∑∑Yes.                                                        12∑occasion to --
13∑A∑∑∑∑No.                                                         13∑A∑∑∑∑Every now and then.
14∑Q∑∑∑∑So, was it just one of those little small                   14∑Q∑∑∑∑Okay.∑What sort of things did Helen handle
15∑time clock sheets that you --                                    15∑as HR person that you knew about?
16∑A∑∑∑∑Just swipe.                                                 16∑A∑∑∑∑Iknow a code of conduct.
17∑Q∑∑∑∑You swiped it?                                              17∑Q∑∑∑∑Okay.∑So she was the one that handled the
18∑A∑∑∑∑(Witness moves head up and down.)                           18∑code of conduct issues.
19∑Q∑∑∑∑So you didn't have an individual sheet every                19∑A∑∑∑∑(Witness moves head up and down.)
20∑week or every two weeks, right?                                  20∑Q∑∑∑∑And the code of conduct you're referring to,
21∑A∑∑∑∑(Witness moves head up and down.)∑No.                       21∑is that in the employee handbook?
22∑Q∑∑∑∑Sorry.∑I forgot to go over the rules.∑She                   22∑A∑∑∑∑Yes.
23∑needs you to answer audibly because she can't record             23∑Q∑∑∑∑Did you get a copy of the employee handbook?
24∑a nod or a shake of the head.                                    24∑A∑∑∑∑Yes.
25∑A∑∑∑∑Okay.                                                       25∑Q∑∑∑∑And you know they update these employee


                            Brentwood Court Reporting Services
                            (615) 791-6983
       Case 3:16-cv-02510 Document         *** (888)
                                   39-8 Filed        991-DEPO
                                               02/26/18  Page 5 of 14 PageID #: 735                                                     YVer1f
October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES
                                                         Page 18                                                          Page 20
∑1∑handbooks every so often.∑Would you get updates                 ∑1∑∑∑∑∑∑∑∑(Marked Exhibit No. 1.)
∑2∑when that would happen?                                         ∑2∑∑∑∑∑∑∑∑THE WITNESS:∑(Reviewing document.)
∑3∑A∑∑∑∑Yes.                                                       ∑3∑BY MS. COLLINS:
∑4∑Q∑∑∑∑And would you get a hard copy of the                       ∑4∑Q∑∑∑∑The document that's been marked as Exhibit
∑5∑employee handbook or how would that work?                       ∑5∑Number 1, does this look familiar to you?
∑6∑A∑∑∑∑Ithink it's a paper copy.                                  ∑6∑A∑∑∑∑Yes.
∑7∑Q∑∑∑∑Okay.∑So, you're not really sure who took                  ∑7∑Q∑∑∑∑Okay.∑And do you recall when you would have
∑8∑over Helen's HR duties after she retired?                       ∑8∑first received a copy of this document?
∑9∑A∑∑∑∑No.                                                        ∑9∑A∑∑∑∑Four or five years ago.
10∑Q∑∑∑∑Okay.∑Did Helen handle payroll?                            10∑Q∑∑∑∑Okay.∑Now, at some point RockTenn -- well,
11∑A∑∑∑∑Ithink she may have submitted it.                          11∑the company you currently work for, WestRock, it
12∑Q∑∑∑∑Okay.∑Do you have -- in your job at                        12∑used to be called RockTenn; is that right?
13∑WestRock, do you receive any sort of annual                     13∑A∑∑∑∑Yes.
14∑training?                                                       14∑Q∑∑∑∑When did that changeover occur?
15∑A∑∑∑∑As far as?                                                 15∑A∑∑∑∑Year and a half, two years ago.
16∑Q∑∑∑∑That is a good question.∑Like                              16∑Q∑∑∑∑Okay.∑Did you receive any other policies
17∑employee-related issues.∑Not training on your                   17∑like this or handbooks after that changeover
18∑machine or anything like that, but as far as                    18∑occurred?
19∑employment -- employee conduct or anything like                 19∑A∑∑∑∑Yes.
20∑that.                                                           20∑Q∑∑∑∑Okay.∑Do you recall what you might have
21∑A∑∑∑∑Let me see.∑I know they was saying                         21∑received?
22∑something about them -- you know, when they put me              22∑A∑∑∑∑It would be one of these with WestRock's
23∑supervisor, that they were going to send me for                 23∑name on it.
24∑training here before long.                                      24∑Q∑∑∑∑Was that shortly after the changeover
25∑Q∑∑∑∑Okay.∑Do you know what type of training?                   25∑occurred?
                                                         Page 19                                                          Page 21
∑1∑A∑∑∑∑No.                                                        ∑1∑A∑∑∑∑Yes.
∑2∑Q∑∑∑∑So, before that, have you received any kind                ∑2∑Q∑∑∑∑Did you have to sign for that one, too?
∑3∑of training that was not related to your operation              ∑3∑A∑∑∑∑Yes.
∑4∑of the GE machine?                                              ∑4∑Q∑∑∑∑All right.∑Do you know who your divisional
∑5∑A∑∑∑∑Oh, yes.                                                   ∑5∑HR director is?
∑6∑Q∑∑∑∑Okay.∑Just generally, what types of                        ∑6∑A∑∑∑∑Terri Henley.
∑7∑training?                                                       ∑7∑Q∑∑∑∑How do you know that?∑How do you know that
∑8∑A∑∑∑∑All kinds of safety training and -- let's                  ∑8∑that's the divisional HR director?
∑9∑see what all.∑We have, you know, safety meetings                ∑9∑A∑∑∑∑Because she's been at the plant.
10∑every week, all kinds of lockout/tagout stuff.                  10∑Q∑∑∑∑Why was she at the plant?
11∑Q∑∑∑∑So, is it mostly safety type training that                 11∑A∑∑∑∑Questioning.
12∑you receive on a yearly basis?                                  12∑Q∑∑∑∑What was she questioning?
13∑A∑∑∑∑A lot of it is.                                            13∑A∑∑∑∑Same thing we're going over today.
14∑Q∑∑∑∑Any other kinds that you can think of?                     14∑Q∑∑∑∑Okay.∑When was that?∑Like last fall?
15∑A∑∑∑∑Not at the moment.                                         15∑A∑∑∑∑Yes.
16∑Q∑∑∑∑Okay.∑If you went to a training course,                    16∑Q∑∑∑∑Okay.∑Was that before Tommy Whited left?
17∑would you have to sign a sheet saying that you were             17∑A∑∑∑∑No.
18∑there?                                                          18∑Q∑∑∑∑It was after Tommy --
19∑A∑∑∑∑Yes.                                                       19∑A∑∑∑∑Yes.
20∑Q∑∑∑∑Okay.∑Who typically conducted the                          20∑Q∑∑∑∑-- Whited left?
21∑trainings?                                                      21∑A∑∑∑∑Yes.
22∑A∑∑∑∑We've had the safety people to do it, plant                22∑Q∑∑∑∑Before Ms. Henley came out to ask questions,
23∑manager, general managers.                                      23∑was that the first time you had met her?
24∑∑∑∑∑∑∑∑MS. COLLINS:∑I'm going to mark this                      24∑A∑∑∑∑No.
25∑first document as Exhibit Number 1.                             25∑Q∑∑∑∑What occasion did you have to meet her prior


                            Brentwood Court Reporting Services
                            (615) 791-6983
       Case 3:16-cv-02510 Document         *** (888)
                                   39-8 Filed        991-DEPO
                                               02/26/18  Page 6 of 14 PageID #: 736                                                 YVer1f
October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES
                                                         Page 22                                                         Page 24
∑1∑to that?                                                        ∑1∑Q∑∑∑∑What names were called?
∑2∑A∑∑∑∑Ididn't actually talk to her.∑I just seen                  ∑2∑A∑∑∑∑Ihate to say this in front of y'all.
∑3∑her come in the plant.                                          ∑3∑Q∑∑∑∑Ineed you to say exactly what Mr. Whited
∑4∑Q∑∑∑∑Okay.∑Was it around the same time?                         ∑4∑said.
∑5∑A∑∑∑∑Probably a few months before that.                         ∑5∑∑∑∑∑∑∑∑MS. DOHNER-SMITH:∑Objection.
∑6∑Q∑∑∑∑Did you hear anything about why she was                    ∑6∑BY MS. COLLINS:
∑7∑there?                                                          ∑7∑Q∑∑∑∑You can say it.
∑8∑A∑∑∑∑Before?                                                    ∑8∑A∑∑∑∑Pussy, Polak.
∑9∑Q∑∑∑∑Yes, the few months before.                                ∑9∑Q∑∑∑∑What else?
10∑A∑∑∑∑No.                                                        10∑A∑∑∑∑That's it.
11∑Q∑∑∑∑And before that, did you know who she was or               11∑Q∑∑∑∑And those were names that Mr. Whited called
12∑who the divisional HR director was?                             12∑Mr. Kulakowski?
13∑A∑∑∑∑No.                                                        13∑A∑∑∑∑(Witness moves head up and down.)
14∑Q∑∑∑∑To your knowledge, is that information                     14∑Q∑∑∑∑Did you ever see Mr. Whited kick or hit
15∑posted anywhere, who the divisional HR director is?             15∑Mr. Kulakowski?
16∑A∑∑∑∑I, myself, has not seen it posted.                         16∑A∑∑∑∑No.
17∑Q∑∑∑∑Do you know what to do in the event that you               17∑Q∑∑∑∑Did you witness Mr. Kulakowski telling
18∑feel discriminated against or harassed at work?                 18∑Mr. Whited to stop calling him names or to stop
19∑A∑∑∑∑You call the hotline.                                      19∑kicking him or hitting him?
20∑Q∑∑∑∑Okay.∑And when did you find out about that?                20∑A∑∑∑∑No.
21∑A∑∑∑∑It's been posted for a long time.                          21∑Q∑∑∑∑Did you hear about any instances like that?
22∑Q∑∑∑∑Have you ever had occasion to call the                     22∑A∑∑∑∑Iheard it.
23∑hotline?                                                        23∑Q∑∑∑∑What did you hear?
24∑A∑∑∑∑No.                                                        24∑A∑∑∑∑That he done it.∑Like I say, I never seen
25∑Q∑∑∑∑Do you know anyone who has?                                25∑it.
                                                         Page 23                                                         Page 25
∑1∑A∑∑∑∑No.                                                        ∑1∑Q∑∑∑∑That who did what?
∑2∑Q∑∑∑∑Has anyone reported harassment or                          ∑2∑A∑∑∑∑That Tommy kicked Kuli.
∑3∑discrimination to you?                                          ∑3∑Q∑∑∑∑Did Mr. Kulakowski tell you about it?
∑4∑A∑∑∑∑To me?                                                     ∑4∑A∑∑∑∑Uh-huh.
∑5∑Q∑∑∑∑Yes.                                                       ∑5∑Q∑∑∑∑When did he tell you about it?
∑6∑A∑∑∑∑No.                                                        ∑6∑A∑∑∑∑Couple of days after it happened.
∑7∑Q∑∑∑∑Have you witnessed harassment or                           ∑7∑Q∑∑∑∑Do you recall about when that was?
∑8∑discrimination at the plant?                                    ∑8∑A∑∑∑∑No.
∑9∑A∑∑∑∑Idon't really know how to answer that.                     ∑9∑Q∑∑∑∑Was it in the past year?
10∑Q∑∑∑∑What do you mean?                                          10∑A∑∑∑∑Yes.
11∑A∑∑∑∑Ihave heard names called, but it was one of                11∑Q∑∑∑∑What do you recall Mr. Kulakowski saying?
12∑the deals to where it was like a good friendship,               12∑A∑∑∑∑Just that he smacked him in the groin.
13∑like kidding back and forth, like a buddy system.               13∑Q∑∑∑∑Did he say it hurt?
14∑Q∑∑∑∑What do you mean?                                          14∑A∑∑∑∑Uh-huh.
15∑A∑∑∑∑Good friends.                                              15∑Q∑∑∑∑That's a yes?
16∑Q∑∑∑∑Who are you talking about?                                 16∑A∑∑∑∑Yes.
17∑A∑∑∑∑Tommy and Kuli -- or Michael Kulakowski. I                 17∑Q∑∑∑∑Did he say if anybody else was present?
18∑call him Kuli.                                                  18∑A∑∑∑∑No.
19∑Q∑∑∑∑Okay.∑So, when you say you didn't know how                 19∑Q∑∑∑∑Was -- do you consider Mr. Kulakowski a
20∑to answer if you witnessed harassment or                        20∑friend of yours?
21∑discrimination --                                               21∑A∑∑∑∑Yes.
22∑A∑∑∑∑Well, I know it says you can't call anybody                22∑Q∑∑∑∑Did he express to you at any point in time
23∑names, but, you know, that part there, you know,                23∑that he was scared of or fearful of Mr. Whited?
24∑it's just -- you know, they would do it and then                24∑A∑∑∑∑No.
25∑laugh, you know, laugh at one another about it.                 25∑Q∑∑∑∑Now, there at the fabrication plant where


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       Case 3:16-cv-02510 Document         *** (888)
                                   39-8 Filed        991-DEPO
                                               02/26/18  Page 7 of 14 PageID #: 737                                                YVer1f
October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES
                                                          Page 26                                                             Page 28
∑1∑you work, there's both men and women that work                   ∑1∑∑∑∑∑∑∑∑MS. DOHNER-SMITH:∑Objection.
∑2∑there, right?                                                    ∑2∑BY MS. COLLINS:
∑3∑A∑∑∑∑Yes.                                                        ∑3∑Q∑∑∑∑-- in the workplace?
∑4∑Q∑∑∑∑Are there women on the floor?                               ∑4∑∑∑∑∑You can answer.
∑5∑A∑∑∑∑Yes.                                                        ∑5∑A∑∑∑∑I'm going to say this, if it actually
∑6∑Q∑∑∑∑Okay.∑About how many would you say work on                  ∑6∑happened.
∑7∑the floor?                                                       ∑7∑Q∑∑∑∑If it actually happened what?
∑8∑A∑∑∑∑About 65.                                                   ∑8∑A∑∑∑∑If he actually really hit him or just acted
∑9∑Q∑∑∑∑Women?                                                      ∑9∑like he hit him.
10∑A∑∑∑∑That was the total.                                         10∑Q∑∑∑∑You would consider that to be out of line?
11∑Q∑∑∑∑Okay.                                                       11∑∑∑∑∑∑∑∑MS. DOHNER-SMITH:∑Objection.
12∑A∑∑∑∑Let's see.∑Ten.                                             12∑∑∑∑∑∑∑∑THE WITNESS:∑Not if he just acted like
13∑Q∑∑∑∑And did Mr. Kulakowski work first shift with                13∑it, no.
14∑you?                                                             14∑BY MS. COLLINS:
15∑A∑∑∑∑Yes.                                                        15∑Q∑∑∑∑But if you were hit in the groin in the
16∑Q∑∑∑∑Okay.∑And there are women that also work                    16∑workplace, would you consider that to be out-of-line
17∑first shift?                                                     17∑behavior?
18∑A∑∑∑∑First?                                                      18∑A∑∑∑∑If he got hit, yes.
19∑Q∑∑∑∑Yes.                                                        19∑Q∑∑∑∑Okay.∑How long did you work with Michael --
20∑A∑∑∑∑Yes.                                                        20∑or have you worked with Michael Kulakowski?
21∑Q∑∑∑∑And what are the hours of first shift?                      21∑A∑∑∑∑Twelve years, fourteen years.
22∑A∑∑∑∑7:00 to 3:30.                                               22∑Q∑∑∑∑How long had you worked with Mr. Whited?
23∑Q∑∑∑∑Is that typically when management is there,                 23∑A∑∑∑∑Thirty-one.
24∑as far as the plant manager and the general manager              24∑Q∑∑∑∑The whole time?
25∑and all that?                                                    25∑A∑∑∑∑Uh-huh.
                                                          Page 27                                                             Page 29
∑1∑A∑∑∑∑Yes.                                                        ∑1∑Q∑∑∑∑Did he hire you?
∑2∑Q∑∑∑∑During the daytime?                                         ∑2∑A∑∑∑∑John Farley hired me.
∑3∑A∑∑∑∑Yes.                                                        ∑3∑Q∑∑∑∑Okay.∑Did you ever witness or hear about
∑4∑Q∑∑∑∑To your knowledge, who has the ability to                   ∑4∑Mr. Whited grabbing employees in their private parts
∑5∑hire and fire employees out there?                               ∑5∑other than Mr. Kulakowski?
∑6∑A∑∑∑∑Keith Hall and Al Hasbrouck.                                ∑6∑A∑∑∑∑Repeat that again.
∑7∑Q∑∑∑∑Okay.∑So, the general manager and the plant                 ∑7∑∑∑∑∑∑∑∑MS. COLLINS:∑Can you repeat it?
∑8∑manager?                                                         ∑8∑∑∑∑∑∑∑∑(The requested question was read back
∑9∑A∑∑∑∑Yes.                                                        ∑9∑by the court reporter as follows:
10∑Q∑∑∑∑Okay.∑Did you ever hear about or witness                    10∑∑∑∑∑∑∑∑"Question:∑Did you ever witness or
11∑Mr. Whited kicking women in the groin?                           11∑hear about Mr. Whited grabbing employees in their
12∑A∑∑∑∑No.                                                         12∑private parts other than Mr. Kulakowski?")
13∑∑∑∑∑∑∑∑MS. DOHNER-SMITH:∑Objection.                              13∑∑∑∑∑∑∑∑THE WITNESS:∑I didn't say he grabbed
14∑BY MS. COLLINS:                                                  14∑Mr. Kulakowski.
15∑Q∑∑∑∑Did you ever witness or hear about                          15∑BY MS. COLLINS:
16∑Mr. Whited slapping or hitting women that worked out             16∑Q∑∑∑∑Did you hear about it?
17∑there?                                                           17∑A∑∑∑∑Not about him grabbing him.
18∑A∑∑∑∑Tapped them on the shoulder.                                18∑Q∑∑∑∑Okay.∑Or hitting employees in their private
19∑Q∑∑∑∑But not anything --                                         19∑parts besides Mr. Kulakowski?
20∑A∑∑∑∑No.                                                         20∑A∑∑∑∑If he actually done it, yes.
21∑Q∑∑∑∑-- that you would view as out of line?                      21∑Q∑∑∑∑Okay.∑Who else did you hear about?
22∑A∑∑∑∑No.                                                         22∑A∑∑∑∑Just Kuli.∑No.
23∑Q∑∑∑∑Now, the incident you heard about with                      23∑Q∑∑∑∑Just Kulakowski?
24∑Mr. Kulakowski being hit in the groin, would you                 24∑A∑∑∑∑Yes.
25∑consider that to be out of line --                               25∑Q∑∑∑∑Okay.∑Now, do you recall an incident in the


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       Case 3:16-cv-02510 Document         *** (888)
                                   39-8 Filed        991-DEPO
                                               02/26/18  Page 8 of 14 PageID #: 738                                                     YVer1f
October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES
                                                          Page 30                                                             Page 32
∑1∑shipping office where Tommy Whited came in and                   ∑1∑Q∑∑∑∑Why do you say that?
∑2∑reached his hands between Mr. Kulakowski's legs and              ∑2∑A∑∑∑∑I've caught him in lies before.
∑3∑grabbed his testicles and squeezed them?                         ∑3∑Q∑∑∑∑Like what?
∑4∑A∑∑∑∑No.                                                         ∑4∑A∑∑∑∑Let's see.∑Me and him was fishing partners,
∑5∑Q∑∑∑∑Okay.∑No, you don't recall it?                              ∑5∑and he had told Michael White that I did not want to
∑6∑A∑∑∑∑No.                                                         ∑6∑fish with him anymore.∑I never said anything to
∑7∑Q∑∑∑∑Do you recall an incident outside the                       ∑7∑that, because me and him used to be really close.
∑8∑shipping office at a picnic table where Tommy Whited             ∑8∑Q∑∑∑∑All right.∑So that was not work-related?
∑9∑came up to Mr. Kulakowski and hit him in his                     ∑9∑A∑∑∑∑Not work-related, no.
10∑testicles?                                                       10∑Q∑∑∑∑Okay.∑Why are you no longer close, you and
11∑A∑∑∑∑No.                                                         11∑Mr. Kulakowski?
12∑Q∑∑∑∑Okay.∑No, you don't recall that?                            12∑A∑∑∑∑He don't even talk to me anymore.
13∑A∑∑∑∑No.                                                         13∑Q∑∑∑∑As far as you know, it was mostly about that
14∑Q∑∑∑∑Do you recall an incident in the shipping                   14∑fishing?
15∑office where Mr. Whited came in the office and                   15∑A∑∑∑∑Idon't know if it's about that or what it
16∑grabbed Mr. Kulakowski and threw him across the                  16∑is, because he used to come to the house, stay all
17∑office onto the desk?                                            17∑night, we'd go fishing, call me.∑Don't do none of
18∑A∑∑∑∑No.                                                         18∑that anymore.
19∑Q∑∑∑∑Do you recall an incident in Susan Hart's                   19∑Q∑∑∑∑Okay.∑When did that happen where he kind of
20∑office where Mr. Whited hit Mr. Kulakowski in the                20∑just...
21∑head, knocked his hat off, and kicked him in his                 21∑A∑∑∑∑Iguess probably about the time all of this
22∑testicles?                                                       22∑started.
23∑A∑∑∑∑No.                                                         23∑Q∑∑∑∑Okay.∑About the time all of this started,
24∑Q∑∑∑∑No, you don't recall it?                                    24∑did you notice a change in his behavior?
25∑A∑∑∑∑No.                                                         25∑A∑∑∑∑Uh-huh.
                                                          Page 31                                                             Page 33
∑1∑Q∑∑∑∑Do you recall an employee named Susan Hart?                 ∑1∑Q∑∑∑∑Did he seem more standoffish?
∑2∑A∑∑∑∑Yes.                                                        ∑2∑A∑∑∑∑Yes.
∑3∑Q∑∑∑∑Is she still out there?                                     ∑3∑Q∑∑∑∑More paranoid?
∑4∑A∑∑∑∑Yes.                                                        ∑4∑A∑∑∑∑Yes.
∑5∑Q∑∑∑∑What's her job?                                             ∑5∑Q∑∑∑∑Did it seem like he cut off communication
∑6∑A∑∑∑∑Maintenance -- she helps in the maintenance                 ∑6∑with other people?
∑7∑department, ordering parts.                                      ∑7∑A∑∑∑∑Yes.
∑8∑Q∑∑∑∑Do you know an employee named Jerry                         ∑8∑Q∑∑∑∑What would you do if you were kicked in the
∑9∑Harville?                                                        ∑9∑groin in the workplace, if that happened to you?
10∑A∑∑∑∑Yes.                                                        10∑A∑∑∑∑If it happened to me, I'd call the hotline.
11∑Q∑∑∑∑What job does he have out there?                            11∑Q∑∑∑∑Okay.∑I think you said you have not had
12∑A∑∑∑∑Shipping.                                                   12∑occasion to call the hotline, right?
13∑Q∑∑∑∑Shipping.∑Does he also work first shift?                    13∑A∑∑∑∑Correct.
14∑A∑∑∑∑Yes.                                                        14∑Q∑∑∑∑Or you've not used that.
15∑Q∑∑∑∑Have you witnessed Mr. Whited abuse or kick                 15∑A∑∑∑∑Ihaven't had occasion to do that.
16∑him in the groin?                                                16∑Q∑∑∑∑Do you know anything about why Tommy Whited
17∑A∑∑∑∑No.                                                         17∑was terminated?
18∑Q∑∑∑∑Have you heard about any instances like                     18∑A∑∑∑∑No.
19∑that?                                                            19∑Q∑∑∑∑Have you heard anything?
20∑A∑∑∑∑Not with him.                                               20∑A∑∑∑∑No.
21∑Q∑∑∑∑Do you find Mr. Harville to be a credible or                21∑Q∑∑∑∑After he was terminated, did y'all have
22∑honest person?                                                   22∑security out at the plant for a couple of weeks?
23∑A∑∑∑∑Yes.                                                        23∑A∑∑∑∑Yes.
24∑Q∑∑∑∑What about Mr. Kulakowski?                                  24∑Q∑∑∑∑Do you know or were you told why y'all had
25∑A∑∑∑∑No.                                                         25∑security out there for a few weeks?


                            Brentwood Court Reporting Services
                            (615) 791-6983
       Case 3:16-cv-02510 Document         *** (888)
                                   39-8 Filed        991-DEPO
                                               02/26/18  Page 9 of 14 PageID #: 739                                                     YVer1f
October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES
                                                       Page 34                                                          Page 36
∑1∑A∑∑∑∑No.∑Not exactly, no.                                     ∑1∑Q∑∑∑∑Iguess you haven't talked to them, then.
∑2∑Q∑∑∑∑Did you hear anything?                                   ∑2∑The Equal Employment Opportunity Commission.
∑3∑A∑∑∑∑Said just so that way he don't come back on              ∑3∑A∑∑∑∑Idon't know what that is.
∑4∑the premises, pretty much.                                    ∑4∑Q∑∑∑∑You've just talked to Terri Henley about
∑5∑Q∑∑∑∑Was there concern about employee safety and              ∑5∑this whole incident?
∑6∑something Mr. Whited might do?                                ∑6∑A∑∑∑∑Yeah, and her (indicating).
∑7∑A∑∑∑∑Yes.                                                     ∑7∑Q∑∑∑∑WestRock's attorney?
∑8∑∑∑∑∑∑∑∑MS. DOHNER-SMITH:∑Objection.                           ∑8∑A∑∑∑∑Yeah.∑That's it.
∑9∑BY MS. COLLINS:                                               ∑9∑Q∑∑∑∑Now, when Ms. Henley came to talk to you,
10∑Q∑∑∑∑Do you know an employee whose last name is               10∑did she talk to you just that one time?
11∑Buckmaster?                                                   11∑A∑∑∑∑Ican't remember.
12∑A∑∑∑∑Buckmaster?                                              12∑Q∑∑∑∑Okay.∑Do you recall where that meeting took
13∑Q∑∑∑∑Yes.                                                     13∑place?
14∑A∑∑∑∑Yes.                                                     14∑A∑∑∑∑At fulfillment.
15∑Q∑∑∑∑Is that his full name or is that his last                15∑Q∑∑∑∑At the fulfillment office?
16∑name?                                                         16∑A∑∑∑∑Yes.
17∑A∑∑∑∑That's his last name.                                    17∑Q∑∑∑∑Okay.∑Was the meeting recorded, to your
18∑Q∑∑∑∑What's his full name?                                    18∑knowledge?
19∑A∑∑∑∑Ken, Kenneth Buckmaster.                                 19∑A∑∑∑∑Not that I know of.
20∑Q∑∑∑∑What was Kenneth's job?                                  20∑Q∑∑∑∑Did Ms. Henley take notes?
21∑A∑∑∑∑He was maintenance.                                      21∑A∑∑∑∑Yes.
22∑Q∑∑∑∑How long had he been out there?                          22∑Q∑∑∑∑Did she take handwritten notes --
23∑A∑∑∑∑Twenty-plus.                                             23∑A∑∑∑∑Yes.
24∑Q∑∑∑∑And he quit, right?                                      24∑Q∑∑∑∑-- or type on a computer?
25∑A∑∑∑∑Yes.                                                     25∑A∑∑∑∑Handwritten.
                                                       Page 35                                                          Page 37
∑1∑Q∑∑∑∑Do you know why he quit?                                 ∑1∑Q∑∑∑∑Handwritten?∑Was anyone else there?
∑2∑A∑∑∑∑Said he wanted to move closer to home.                   ∑2∑A∑∑∑∑No.
∑3∑Q∑∑∑∑Have you talked with him since he quit?                  ∑3∑Q∑∑∑∑Did you know what the meeting was about when
∑4∑A∑∑∑∑Yeah.                                                    ∑4∑you were called in?
∑5∑Q∑∑∑∑Okay.∑Do you know if he made any complaints              ∑5∑A∑∑∑∑No.
∑6∑about Mr. Whited?                                             ∑6∑Q∑∑∑∑Did you have to sign any documents at that
∑7∑A∑∑∑∑No.                                                      ∑7∑time?
∑8∑Q∑∑∑∑Had you ever heard Tommy Whited say anything             ∑8∑A∑∑∑∑No.
∑9∑like the hotline complaints come to him?                      ∑9∑Q∑∑∑∑Did you have to sign any following that
10∑A∑∑∑∑No.                                                      10∑meeting with Ms. Henley?
11∑Q∑∑∑∑Do you know if they do, if they would go to              11∑A∑∑∑∑Not as I know of.
12∑the plant manager or the general manager?                     12∑Q∑∑∑∑Are you worried about your job security
13∑A∑∑∑∑Ithink it's all confidential, it can't go                13∑because you're testifying here today?
14∑anywhere.                                                     14∑∑∑∑∑∑∑∑MS. DOHNER-SMITH:∑Objection.
15∑Q∑∑∑∑Have you ever heard Tommy Whited make any                15∑∑∑∑∑∑∑∑THE WITNESS:∑No.
16∑statements that the supervisors report to him or              16∑BY MS. COLLINS:
17∑threaten other employees with that?                           17∑Q∑∑∑∑Are you still in touch with Tommy Whited?
18∑A∑∑∑∑No.                                                      18∑A∑∑∑∑Yes.∑I owe him money.
19∑Q∑∑∑∑Do you know if other employees were afraid               19∑Q∑∑∑∑You what now?
20∑to report behavior of Tommy Whited's?                         20∑A∑∑∑∑Iowe him money.
21∑∑∑∑∑∑∑∑MS. DOHNER-SMITH:∑Objection.                           21∑Q∑∑∑∑Oh, okay.∑What do you owe him money for?
22∑∑∑∑∑∑∑∑THE WITNESS:∑No.                                       22∑A∑∑∑∑Ibought a car from him.
23∑BY MS. COLLINS:                                               23∑Q∑∑∑∑When did you buy a car from him?
24∑Q∑∑∑∑Have you talked with anyone from the EEOC?               24∑A∑∑∑∑Two years ago.
25∑A∑∑∑∑What is that?                                            25∑Q∑∑∑∑How much do you owe him?


                            Brentwood Court Reporting Services
                            (615) 791-6983
      Case 3:16-cv-02510 Document          *** 02/26/18
                                   39-8 Filed  (888) 991-DEPO
                                                         Page 10 of 14 PageID #: 740                                              YVer1f
October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES
                                                         Page 38                                                            Page 40
∑1∑A∑∑∑∑Probably four or five thousand dollars.                    ∑1∑Q∑∑∑∑What department was she in?
∑2∑Q∑∑∑∑What kind of car was it?                                   ∑2∑A∑∑∑∑What do you mean?
∑3∑A∑∑∑∑A Lexus.                                                   ∑3∑Q∑∑∑∑Is she in -- she's at the fulfillment
∑4∑Q∑∑∑∑Okay.∑What kind of Lexus?                                  ∑4∑center, right?
∑5∑A∑∑∑∑RX300.                                                     ∑5∑A∑∑∑∑Yes.
∑6∑Q∑∑∑∑Is that those little small SUVs?                           ∑6∑Q∑∑∑∑What specific department is she in?
∑7∑A∑∑∑∑Yeah.                                                      ∑7∑A∑∑∑∑She's actually got an office right there
∑8∑Q∑∑∑∑Okay.∑So you bought that car from                          ∑8∑behind in our -- around where the shipping office,
∑9∑Mr. Whited, and you've just been --                             ∑9∑and she's like for Elwood Staffing company.
10∑A∑∑∑∑Yes.                                                       10∑Q∑∑∑∑Okay.∑How long has she been there?
11∑Q∑∑∑∑-- making monthly payments directly to him?                11∑A∑∑∑∑Year and a half, two years.
12∑A∑∑∑∑Yes.                                                       12∑Q∑∑∑∑So she was there when Mr. Whited was working
13∑Q∑∑∑∑Okay.∑How much do you pay him a month?                     13∑out there?
14∑A∑∑∑∑Two twenty-five.                                           14∑A∑∑∑∑Yes.
15∑Q∑∑∑∑Have you heard of horseplay in the workplace               15∑Q∑∑∑∑Okay.∑Do you know an employee named Donnie?
16∑at RockTenn when Mr. Whited was the manager?                    16∑A∑∑∑∑Donnie?∑Last name?∑Taylor?
17∑∑∑∑∑∑∑∑MS. DOHNER-SMITH:∑Objection.                             17∑Q∑∑∑∑Yeah.
18∑∑∑∑∑∑∑∑THE WITNESS:∑As far as?                                  18∑A∑∑∑∑Okay.∑Yes.
19∑BY MS. COLLINS:                                                 19∑Q∑∑∑∑Okay.∑Is he still out there?
20∑Q∑∑∑∑Just that term, horseplay.                                 20∑A∑∑∑∑Yes.
21∑A∑∑∑∑Yes.                                                       21∑Q∑∑∑∑Do you find him to be credible?
22∑Q∑∑∑∑That horseplay went on.∑Yes?                               22∑A∑∑∑∑Yes.
23∑A∑∑∑∑Yes.                                                       23∑Q∑∑∑∑Okay.∑Have you heard of Tommy Whited having
24∑Q∑∑∑∑Tell me about that.                                        24∑an affair with any female employees out there?
25∑A∑∑∑∑It's not -- in other words, you can't do it.               25∑A∑∑∑∑No.
                                                         Page 39                                                            Page 41
∑1∑Q∑∑∑∑But did you hear that it went on?                          ∑1∑Q∑∑∑∑Would you say that Mike White is close
∑2∑A∑∑∑∑Iguess the horseplay is -- I guess I look                  ∑2∑friends or tight with Tommy Whited?
∑3∑at it different than everybody else does.∑What they             ∑3∑A∑∑∑∑No.
∑4∑consider as horseplay, I guess, you know, I don't.              ∑4∑Q∑∑∑∑Why do you say that?
∑5∑Q∑∑∑∑Tell me what you mean by that.                             ∑5∑A∑∑∑∑Because they didn't always agree on
∑6∑A∑∑∑∑Well, you'd have -- well, he don't work                    ∑6∑everything.
∑7∑there anymore.∑J.R. Sanders, when he come in, he'd              ∑7∑Q∑∑∑∑Mike White is still out there, right?
∑8∑grab my beard, just like a handshake.                           ∑8∑A∑∑∑∑Yes.
∑9∑Q∑∑∑∑Okay.∑So you don't consider that horseplay,                ∑9∑Q∑∑∑∑Do you know if Helen still lives in the
10∑right?                                                          10∑area, Helen Kendall?
11∑A∑∑∑∑No, ma'am.                                                 11∑A∑∑∑∑Westmoreland.
12∑Q∑∑∑∑What else were you told was horseplay that                 12∑Q∑∑∑∑Okay.∑Are you in touch with her --
13∑you didn't consider horseplay?                                  13∑A∑∑∑∑No.
14∑A∑∑∑∑Just like that right there.                                14∑Q∑∑∑∑-- or still in touch with her?
15∑Q∑∑∑∑Okay.∑Did you see any of the -- did you                    15∑A∑∑∑∑(Witness moves head side to side.)
16∑ever see Mr. Whited like hitting or punching other              16∑Q∑∑∑∑No?
17∑male employees on the shoulder or back?                         17∑A∑∑∑∑No.
18∑A∑∑∑∑No.                                                        18∑Q∑∑∑∑Do you find her to be credible?
19∑Q∑∑∑∑Do you know a contract employee named -- or                19∑A∑∑∑∑No.
20∑employee of a vendor that would come around named               20∑Q∑∑∑∑Why do you say that?
21∑Heather?                                                        21∑A∑∑∑∑Let's see.∑How can I put it?∑It's just
22∑A∑∑∑∑Heather?∑She's like -- the Heather that I                  22∑I've heard her say -- I can't remember exactly what
23∑know is an onsite for the temporary service.                    23∑it is, tell one person one thing and another person
24∑Q∑∑∑∑Okay.∑Do you know her last name?                           24∑something different on the same occasion.
25∑A∑∑∑∑Ido not.                                                   25∑Q∑∑∑∑Okay.∑Anything else?


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      Case 3:16-cv-02510 Document          *** 02/26/18
                                   39-8 Filed  (888) 991-DEPO
                                                         Page 11 of 14 PageID #: 741                                                  YVer1f
October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES
                                                       Page 42                                                             Page 44
∑1∑A∑∑∑∑No.                                                      ∑1∑knowledge regarding her duties?
∑2∑∑∑∑∑∑∑∑MS. COLLINS:∑Okay.∑If I could have                     ∑2∑A∑∑∑∑No.
∑3∑just a minute to review my notes.                             ∑3∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
∑4∑∑∑∑∑∑∑∑MS. DOHNER-SMITH:∑Absolutely.                          ∑4∑BY MS. DOHNER-SMITH:
∑5∑∑∑∑∑∑∑∑(Recess observed.)                                     ∑5∑Q∑∑∑∑And throughout your course of employment,
∑6∑∑∑∑∑∑∑∑MS. COLLINS:∑I'm done.                                 ∑6∑you did receive a copy of the code of conduct and it
∑7∑∑∑∑∑∑∑∑MS. DOHNER-SMITH:∑I've just got a                      ∑7∑was reviewed with you, correct?
∑8∑couple.                                                       ∑8∑A∑∑∑∑Yes.
∑9∑∑∑∑∑∑∑∑∑E X A M I N A T I O N                                 ∑9∑Q∑∑∑∑Is that correct also with respect to the
10∑BY MS. DOHNER-SMITH:                                          10∑harassment policy?
11∑Q∑∑∑∑Mr. Stafford, you were asked some questions              11∑A∑∑∑∑Yes.
12∑about Helen -- is it McKendall or Kendall?                    12∑Q∑∑∑∑Is that also true with respect to the ethics
13∑A∑∑∑∑Kendall.                                                 13∑and corporate hotline?
14∑Q∑∑∑∑Kendall, okay.∑Do you know what her actual               14∑A∑∑∑∑Yes.
15∑position or title was?                                        15∑Q∑∑∑∑Okay.∑I think earlier you had talked about
16∑A∑∑∑∑Yeah.∑Human resource.                                    16∑meeting Terri Henley at the plant and being
17∑Q∑∑∑∑If her title was actually administrative                 17∑questioned by her.∑Could that have been before
18∑assistant, would you have any reason to dispute               18∑Tommy Whited left the company?
19∑that?                                                         19∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection.∑Asked and
20∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.                        20∑answered.
21∑∑∑∑∑∑∑∑THE WITNESS:∑No.                                       21∑∑∑∑∑∑∑∑THE WITNESS:∑Not for sure.
22∑BY MS. DOHNER-SMITH:                                          22∑BY MS. DOHNER-SMITH:
23∑Q∑∑∑∑And when you said that Helen handled the                 23∑Q∑∑∑∑Okay.∑So, sitting here today, you just
24∑code of conduct issues, what do you mean by that?             24∑don't recall what the specific date was?
25∑A∑∑∑∑She just went over the code of conducts with             25∑A∑∑∑∑Yes, ma'am.∑Exactly.
                                                       Page 43                                                             Page 45
∑1∑us.                                                           ∑1∑Q∑∑∑∑Okay.∑So, for example, if Ms. Henley had
∑2∑Q∑∑∑∑Okay.∑So she came out, provided a copy of                ∑2∑some notes from a discussion that indicated she'd
∑3∑the code of conduct --                                        ∑3∑talked with you before Mr. Whited left the company,
∑4∑A∑∑∑∑Yes.                                                     ∑4∑you would have no reason to dispute that that --
∑5∑Q∑∑∑∑-- and reviewed it with you?                             ∑5∑A∑∑∑∑No.
∑6∑A∑∑∑∑Yes.                                                     ∑6∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
∑7∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.                        ∑7∑BY MS. DOHNER-SMITH:
∑8∑BY MS. DOHNER-SMITH:                                          ∑8∑Q∑∑∑∑Ithink you testified you didn't have any
∑9∑Q∑∑∑∑So she didn't come out and write people up               ∑9∑reason to talk with Terri Henley before you met with
10∑for code of conduct violations and that sort of               10∑her and were questioned by her, but do you have any
11∑thing?                                                        11∑reason to dispute that she was actually at the
12∑A∑∑∑∑No.                                                      12∑facility prior to that time you spoke with her?
13∑Q∑∑∑∑She was just the messenger?                              13∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
14∑A∑∑∑∑Uh-huh.                                                  14∑∑∑∑∑∑∑∑THE WITNESS:∑No.
15∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.                        15∑BY MS. DOHNER-SMITH:
16∑BY MS. DOHNER-SMITH:                                          16∑Q∑∑∑∑Earlier, I think you provided some testimony
17∑Q∑∑∑∑And do you have any personal knowledge what              17∑regarding Mr. Whited and Mr. Kulakowski calling
18∑Helen's actual duties were?                                   18∑names, but indicated they were good friends.
19∑A∑∑∑∑Just HR is all I know.                                   19∑A∑∑∑∑Yes.
20∑Q∑∑∑∑And were there any other HR functions other              20∑Q∑∑∑∑And that that bantering was something that
21∑than her coming out and handing out the code of               21∑went back and forth between them?
22∑conduct policy?                                               22∑A∑∑∑∑Yes.
23∑A∑∑∑∑Not as I know of.                                        23∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
24∑Q∑∑∑∑Okay.∑So, other than her handing out the                 24∑BY MS. DOHNER-SMITH:
25∑code of conduct, you don't have any personal                  25∑Q∑∑∑∑Would Mr. Kulakowski laugh when --


                            Brentwood Court Reporting Services
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      Case 3:16-cv-02510 Document          *** 02/26/18
                                   39-8 Filed  (888) 991-DEPO
                                                         Page 12 of 14 PageID #: 742                                                 YVer1f
October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES
                                                          Page 46                                                            Page 48
∑1∑A∑∑∑∑Yes.                                                        ∑1∑Mr. Whited approximately $45,000.
∑2∑Q∑∑∑∑-- Tommy was doing this?                                    ∑2∑A∑∑∑∑No, no, no.∑4,500.
∑3∑∑∑∑∑Did it ever seem like Mr. Kulakowski was                     ∑3∑Q∑∑∑∑Oh, $4,500.∑Sorry.∑My notes are -- I can
∑4∑upset by Mr. Whited joking around with him in this               ∑4∑barely read them.
∑5∑manner?                                                          ∑5∑∑∑∑∑Would your owing Mr. Whited money impact
∑6∑A∑∑∑∑No.                                                         ∑6∑your truthfulness in any way today?
∑7∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.                           ∑7∑A∑∑∑∑No.
∑8∑BY MS. DOHNER-SMITH:                                             ∑8∑Q∑∑∑∑Earlier you had indicated that J.R. Sanders
∑9∑Q∑∑∑∑In fact, you saw him actually laughing?                     ∑9∑would come up and shake your beard, kind of like he
10∑A∑∑∑∑Yes.                                                        10∑was shaking somebody's hand.
11∑Q∑∑∑∑Earlier you were asked if you recall an                     11∑A∑∑∑∑Yes.
12∑incident where Tommy Whited kicked Mr. Kulakowski in             12∑Q∑∑∑∑Would you consider that sexual harassment?
13∑the groin.                                                       13∑A∑∑∑∑No.
14∑∑∑∑∑You never witnessed him --                                   14∑∑∑∑∑∑∑∑MS. DOHNER-SMITH:∑I think that's all.
15∑A∑∑∑∑No.                                                         15∑∑∑∑∑∑∑∑MS. COLLINS:∑I do have a follow-up
16∑Q∑∑∑∑-- Tommy Whited kick Mr. Kulakowski?                        16∑question.
17∑A∑∑∑∑No.                                                         17∑∑∑∑∑∑∑∑∑E X A M I N A T I O N
18∑Q∑∑∑∑Earlier you were asked about an incident in                 18∑BY MS. COLLINS:
19∑the shipping department where Tommy Whited grabbed               19∑Q∑∑∑∑Did you talk with Tommy Whited before your
20∑Mr. Kulakowski between the legs and squeezed his                 20∑deposition today?
21∑groin.                                                           21∑A∑∑∑∑No.
22∑∑∑∑∑Did you ever witness any incident --                         22∑Q∑∑∑∑Did you text message with him?
23∑A∑∑∑∑No.                                                         23∑A∑∑∑∑No.
24∑Q∑∑∑∑-- like that?                                               24∑Q∑∑∑∑Do you text message?∑Are you a text
25∑∑∑∑∑Earlier you were asked about whether or not                  25∑messager?
                                                          Page 47                                                            Page 49
∑1∑you recalled an incident at the picnic table where               ∑1∑A∑∑∑∑No.
∑2∑Mr. Whited hit Mr. Kulakowski in the groin.                      ∑2∑Q∑∑∑∑Okay.∑All right.∑Did you have any
∑3∑∑∑∑∑Did you ever witness anything like that?                     ∑3∑discussions with Mr. Whited that you were being
∑4∑A∑∑∑∑No.                                                         ∑4∑deposed today?
∑5∑Q∑∑∑∑Earlier you were asked about an incident in                 ∑5∑A∑∑∑∑No.
∑6∑the shipping office and whether you recalled that                ∑6∑∑∑∑∑∑∑∑MS. COLLINS:∑Okay.∑That's all I have.
∑7∑incident, where Mr. Whited allegedly threw                       ∑7∑∑∑∑∑∑∑∑FURTHER DEPONENT SAITH NOT.
∑8∑Mr. Kulakowski across a desk.                                    ∑8∑∑∑∑∑∑∑∑(Proceedings concluded at 10:50 a.m.)
∑9∑∑∑∑∑Did you ever witness an incident like that?                  ∑9
10∑A∑∑∑∑No.                                                         10
11∑Q∑∑∑∑Earlier you were asked about an incident --                 11
12∑whether you remembered an incident in Susan Hart's               12
13∑office where Mr. Whited kicked Mr. Kulakowski in the             13
14∑testicles.                                                       14
15∑∑∑∑∑Did you ever witness any incident like that?                 15
16∑A∑∑∑∑No.                                                         16
17∑Q∑∑∑∑Earlier you had indicated that it seemed                    17
18∑like there had been a change in Mr. Kulakowski's                 18
19∑behavior, and you said after all this started.∑Was               19
20∑that after Mr. Whited's termination?                             20
21∑A∑∑∑∑Yes.                                                        21
22∑Q∑∑∑∑Do you know when Mr. Kulakowski first                       22
23∑started making claims of sexual harassment?                      23
24∑A∑∑∑∑Ido not.                                                    24
25∑Q∑∑∑∑Earlier you testified that you owe                          25


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                                                         Page 13 of 14 PageID #: 743
October 24, 2017 | STAFFORD, TERRY
KULAKOWSKI vs WESTROCK SERVICES
                                                         Page 50
∑1∑∑∑∑∑∑∑∑∑REPORTER'S CERTIFICATE
∑2
∑3∑∑∑∑∑∑∑∑I, Jerri L. Porter, RPR, CRR, Notary
∑4∑Public and Court Reporter, do hereby certify that I
∑5∑recorded to the best of my skill and ability by
∑6∑machine shorthand all the proceedings in the
∑7∑foregoing transcript, and that said transcript is a
∑8∑true, accurate, and complete transcript to the best
∑9∑of my ability.
10∑∑∑∑∑∑∑∑I further certify that I am not an
11∑attorney or counsel of any of the parties, nor a
12∑relative or employee of any attorney or counsel
13∑connected with the action, nor financially
14∑interested in the action.
15∑∑∑∑∑∑∑∑SIGNED this 3rd day of November, 2017.
16
17
18
19
20∑∑∑∑∑∑∑∑____________________________________
21∑∑∑∑∑∑∑∑∑∑Jerri L. Porter, RPR, CRR
22∑My Notary commission expires:∑2/19/2018
23∑Tennessee LCR No. 335
24∑Expires:∑6/30/2018
25

                                                         Page 51
∑1∑∑∑∑∑∑∑∑∑∑∑∑E R R A T A
∑2
∑3∑∑∑∑I, TERRY ANTHONY STAFFORD, having read the
∑∑foregoing deposition, Pages 1 through 49, taken
∑4∑October 24, 2017, do hereby certify said
∑∑testimony is a true and accurate transcript,
∑5∑with the following changes, if any:
∑6∑PAGE∑∑LINE∑∑∑SHOULD HAVE BEEN
∑7∑_____∑∑_____∑∑∑______________________________
∑8∑_____∑∑_____∑∑∑______________________________
∑9∑_____∑∑_____∑∑∑______________________________
10∑_____∑∑_____∑∑∑______________________________
11∑_____∑∑_____∑∑∑______________________________
12∑_____∑∑_____∑∑∑______________________________
13∑_____∑∑_____∑∑∑______________________________
14∑_____∑∑_____∑∑∑______________________________
15∑_____∑∑_____∑∑∑______________________________
16∑_____∑∑_____∑∑∑______________________________
17
18∑∑∑∑∑∑∑______________________________
19∑∑∑∑∑∑∑∑∑TERRY ANTHONY STAFFORD
20
21
22∑____________________________
∑∑∑∑∑Notary Public
23∑My commission expires:∑_____________
24
25



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                                                          Page 14 of 14 PageID #: 744
